                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                            CASE NO. 3:20-CV-291-DCK

 PHILIP STULL, III,                                   )
                                                      )
                Plaintiff,                            )
                                                      )
    v.                                                )         ORDER
                                                      )
 LIFE INSURANCE COMPANY OF NORTH                      )
 AMERICA,                                             )
                                                      )
                Defendant.                            )
                                                      )

         THIS MATTER IS BEFORE THE COURT sua sponte regarding scheduling concerns.

The parties have consented to Magistrate Judge jurisdiction pursuant to 28 U.S.C. § 636(c), and

there are ripe motions for summary judgment pending before the Court.

         IT IS, THEREFORE, ORDERED that the hearing on the pending motions for summary

judgment is hereby continued to October 5, 2021 at 10:00 a.m. in Courtroom 1A. Counsel for

Plaintiff and Defendant shall appear before this Court at the Charles R. Jonas Federal Building,

401 W. Trade Street, Charlotte, North Carolina prepared to discuss the status of this case and to

argue the merits of the pending motions.

         SO ORDERED.
                                   Signed: September 24, 2021




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